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EEOC Form 5 (11/09)


                      CHARGE OF DISCRIMINATION                                                          Charge Presented To:              Agency(ies) Charge No(s):
              This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                           FEPA
                     Statement and other information before completing this form.
                                                                                                               X EEOC
                      Florida Commission On Human Relations, City of Tampa Office of Human Rights, and EEOC
                                                                            State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                       Home Phone (Incl. Area Code)            Date of Birth

Mr. John Forbes
Street Address                                                                   City, State and ZIP Code



Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                                 No. Employees, Members      Phone No. (Include Area Code)

H. Lee Moffitt Cancer & Research Institution, Inc.                                                                          15+                   (813) 745-4673
Street Address                                                                   City, State and ZIP Code

12902 USF Magnolia Drive                                                          Tampa, FL 33612
Name                                                                                                                 No. Employees, Members      Phone No. (Include Area Code)


Street Address                                                                   City, State and ZIP Code


DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                       DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                     Earliest                   Latest

          RACE              COLOR                  SEX                 RELIGION             X   NATIONAL ORIGIN                      N/A              09/21/2018
               RETALIATION                 AGE              DISABILITY                     GENETIC INFORMATION
                       OTHER (Specify)                                                                                                        CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):

            I believe I was terminated on the basis of my national origin (Jamaican) in violation of Title VII of the
    Civil Rights Act of 1964, the Florida Civil Rights Act of 1992, and the City of Tampa’s Human Rights
    Ordinance, at minimum. I was terminated from my almost 29-years of employment with H. Lee Moffitt
    Cancer & Research Institution, Inc. on or about September 21, 2018. During my employment, I worked in the
    cafeteria. Throughout my employment, the practice for all cafeteria employees was that we would get
    breakfast for free, snack for free, and would only have to pay $1 for lunch. Nevertheless, I was fired for
    allegedly stealing food.

            I was the only Jamaican employee working in the cafeteria. Other employees had engaged in the same
    practice concerning breakfast, snack, and lunch for as long as I can remember. And yet, they were not
    terminated for the same “offense.” I was not subject to progressive discipline on this issue and I am unaware
    of any policy I violated that would have subjected me to termination after so many years of dedicated service.
    I short, I believe I was treated worse than other individuals who are not Jamaican as a result of my being
    Jamaican.

I want this charge filed with both the EEOC and the State or local Agency, if any. I will NOTARY – When necessary for State and Local Agency Requirements
advise the agencies if I change my address or phone number and I will cooperate fully
with them in the processing of my charge in accordance with their procedures.
                                                                                            Angel Daniels; Notary Comm. #: GG045044
                                                                                                I swear or affirm that I have read the above charge and that it is true to the
I declare under penalty of perjury that the above is true and correct.                          best of my knowledge, information and belief.
                                                                                                SIGNATURE OF COMPLAINANT



                                                                                                SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                                (month, day, year)

              Date                               Charging Party Signature                          June 6, 2019
Attorney of Record: Shaina Thorpe, Thorpe & Thorpe, P.A., 1228 East 7th Ave. Ste. 200, Tampa, FL 33605; (813) 400-0229

                                                                               EXHIBIT A
